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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In Re: New York City Policing During Summer                    : ORDER
2020 Demonstrations                                              20 Civ. 8924 (CM) (GWG)
                                                               :
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GABRIEL W. GORENSTEIN, United States Magistrate Judge

        With regard to Docket # 354, the City must keep plaintiffs apprised of the status of
document requests. The Court directs the City to immediately meet and confer as to all
categories of documents, to identify for plaintiffs which documents will and will not be
produced, and to provide firm dates by which any production will be made. If the plaintiffs are
dissatisfied with the results of the meet and confer, they are free to send a new letter.

        Separately, the Court orders that the City produce the example audit trail logs
identified in the plaintiffs’ letter (page 6) on or before February 2, 2022.

       SO ORDERED.

Dated: January 25, 2022
       New York, New York
